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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 CITIZENS FOR RESPONSIBILITY AND
 ETHICS IN WASHINGTON,


                   Plaintiff,
                                                    No. 25-cv-511 (CRC)
       v.

 U.S. DOGE SERVICE, et al.,


                   Defendants.



                            DECLARATION OF AMY GLEASON

   1. My name is Amy Gleason. The following is based on my personal knowledge or
      information provided to me in the course of performing my duties at the United States
      DOGE Service (USDS).

   2. I currently serve as the Acting Administrator of USDS. I joined USDS on December 30,
      2024.

   3. I am a full-time, government employee at USDS.

   4. In my role at USDS, I oversee all of USDS’s employees and detailees to USDS from other
      agencies.

   5. I report to the White House Chief of Staff, Susie Wiles.

   6. Elon Musk does not work at USDS. I do not report to him, and he does not report to me.
      To my knowledge, he is a Senior Advisor to the White House.

USDS’s Structure and Operation

   7. On January 20, 2025, President Trump issued Executive Order 14,158, reforming and
      renaming the United States Digital Service as the United States DOGE Service (USDS).
      See Establishing and Implementing the President’s “Department of Government
      Efficiency,” Executive Order 14,158 (Jan. 20, 2025) (hereinafter, “USDS Order”).




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  8. USDS derives its structure and authority from the USDS Order. USDS has no independent
     statutory basis. Pursuant to the USDS Order, USDS was transferred out of the Office of
     Management and Budget (“OMB”) as of January 20, 2025, and established as a standalone
     component in the Executive Office of the President.

  9. In addition to creating USDS, the USDS Order created the U.S. DOGE Service Temporary
     Organization, which sits within USDS and thus within the Executive Office of the
     President.

  10. USDS is a permanent entity, whereas the U.S. DOGE Service Temporary Organization is,
      as its name suggests, a temporary entity with an expiration date of July 4, 2026.

  11. As described in the USDS Order, the USDS Administrator heads both USDS and the U.S.
      DOGE Service Temporary Organization.
Agency DOGE Teams

  12. In addition to establishing USDS and the U.S. DOGE Service Temporary Organization, the
      USDS Order directs the heads of federal agencies to form teams within their respective
      agencies (called, “DOGE Teams”) in consultation with the USDS Administrator. The
      agency heads have ultimate decisionmaking authority with respect to the members of their
      agency DOGE Team.

  13. Every member of an agency’s DOGE Team is an employee of the agency or a detailee to
      the agency. The DOGE Team members – whether employees of the agency or detailed to
      the agency – thus report to the agency heads or their designees, not to me or anyone else at
      USDS.

  14. In some instances, members of agency DOGE Teams are detailees from USDS to the
      agency. Where USDS detailees are assigned to an agency DOGE Team and acting in their
      capacity as a detailee to the DOGE Team, they are supervised by personnel of the agency
      to which they are detailed.

  15. As explained in the USDS Order, agency DOGE Teams are headed by a DOGE Team Lead.
      That individual is also an agency employee and – whether an appointed employee of the
      agency or a detailee – reports to agency personnel.

  16. The agency DOGE Teams and agency DOGE Team Leads coordinate their work with
      USDS, as contemplated by the USDS Order and subsequent Executive Orders (see ¶¶ 7,
      22), but they are distinct from both USDS and the U.S. DOGE Service Temporary
      Organization, and, again, do not report to me for work conducted within and for the agency.




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USDS Functions and Agency DOGE Team Functions

   17. As described in the USDS Order, USDS is charged with furthering President’s Trump
       DOGE agenda, by “modernizing Federal technology and software to maximize
       governmental efficiency and productivity.”

   18. In furtherance of these efforts, the USDS Order directs the USDS Administrator to work
       with agency heads to “promote inter-operability between agency networks and systems,
       ensure data integrity, and facilitate responsible data collection and synchronization.”

   19. In addition, the USDS Order charges the DOGE Service Temporary Organization with
       advancing President Trump’s 18 month “DOGE agenda,” as set forth in various Executive
       Orders. See ¶¶ 7, 22.

   20. Per the USDS Order, as the USDS Administrator, I oversee the work of USDS and the U.S.
       DOGE Service Temporary Organization and am responsible for initiating the President’s
       “Software Modernization Initiative.”

   21. As described in the USDS Order, USDS also consults with agency heads and their
       designees on technology improvements and other matters related to the President’s DOGE
       agenda.

   22. The “DOGE agenda” includes the technology modernization efforts described in the USDS
       Order, as well as initiatives that are described in four separate Executive Orders and a
       presidential memorandum. These materials describe distinct—and limited—roles for
       USDS and agency heads and agency DOGE Teams. They include:

          a. Executive Order 14,170, Reforming the Federal Hiring Process and Restoring
             Merit to Government Service (Jan. 20, 2025), which directs the USDS
             Administrator to consult with the Assistant to the President for Domestic Policy
             and the OMB Director on a federal hiring plan that focuses on hiring highly skilled
             Americans. The order charges the Assistant to the President for Domestic Policy
             with actually developing the plan and disseminating it to agency heads.

          b. Presidential Memorandum, Hiring Freeze (Jan. 20, 2025), which instructs the
             USDS Administrator to consult with the OMB Director, who is responsible for
             submitting a “plan to reduce the size of the Federal Government’s workforce
             through efficiency improvements and attrition.” The USDS Administrator is also
             responsible for consulting with the OMB Director and the Treasury Secretary, who
             is responsible for determining when to lift the hiring freeze at the Internal Revenue
             Service.




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          c. Executive Order 14,210, Implementing the President’s “Department of Government
             Efficiency” Workforce Optimization (Feb. 11, 2025), which directs agency heads to
             reduce agency headcount and agency DOGE Team Leads to provide monthly
             reports to the USDS Administrator on agency hiring. The USDS Administrator is
             also directed to report to the President on agencies’ compliance with the order.

          d. Executive Order 14,218, Ending Taxpayer Subsidization of Open Borders (Feb. 19,
             2025), which requires the USDS Administrator to consult with the Assistant to the
             President for Domestic Policy and the OMB Director to identify sources of federal
             funding for illegal immigrants and collectively recommend agency actions to align
             spending with the purposes of the order and, where relevant, enhance eligibility
             verification systems.

          e. Executive Order 14,219, Ensuring Lawful Governance and Implementing the
             President’s “Department of Government Efficiency” Deregulatory Initiative (Feb.
             19, 2025), which requires agency heads, in consultation with their DOGE Teams
             Leads, to undertake deregulatory efforts.

          f. Executive Order, 14,222, Implementing the President’s “Department of
             Government Efficiency” Cost Efficiency Initiative, (Feb. 26, 2025), which requires
             each agency head to make federal expenditures transparent and for DOGE Team
             Leads to report to the USDS Administrator on contracting and non-essential travel
             expenses.

   23. Cumulatively, these orders and memorandum set forth the responsibilities assigned to
       USDS, the U.S. DOGE Service Temporary Organization, agency DOGE Teams, and
       agency DOGE Team Leads. As an entity created by Executive Order, USDS has no other
       independent sources of legal authority.
USDS’s Data and Records Management

   24. Per the USDS Order, USDS is required to adhere to rigorous data protection standards.

   25. USDS and the U.S. DOGE Service Temporary Organization have obligations to maintain
       records and do so pursuant to the Presidential Records Act (“PRA”). In accordance with
       the PRA’s requirements, USDS materials will be transmitted to the National Archives and
       Records Administration at the appropriate time.

   26. USDS has informed its employees (including those in the U.S. DOGE Service Temporary
       Organization) that they must adhere to records-preservation requirements.

   27. USDS has also provided employees with a document hold for this litigation in accordance
       with the Court’s instructions.



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Harm to USDS and the President if USDS is Required to Comply with the Court’s Order

   28. If USDS is required to comply with the court’s order, it will have to set up a new FOIA
       operation from scratch within USDS. Because USDS is an Executive Office of the
       President component that reports to the White House Chief of Staff and advises the
       President, it has adopted no FOIA regulations, hired no document processors or reviewers,
       and has no dedicated budget for these activities. To complete all of these tasks will divert
       significant time and resources from an organization that is charged with advising the
       President and others on high-priority projects of this Administration.

   29. Because USDS is an Executive Office of the President component that reports to the White
       House Chief of Staff and advises the President, it works closely with other senior White
       House advisors on a regular basis. A requirement that USDS produce records not only
       threatens to divert time and resources, but also risks chilling and inhibiting the exchange
       of information and advice among the President’s advisors on Administration priorities.

                                              *****

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed in Washington, DC this 14th day of March.


                                                      __________________________
                                                      Amy Gleason




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